Case 1:01-cv-12257-PBS Document 6791-21 Filed 12/21/09 Page 1 of 5




                             Exhibit 20
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
Case 1:01-cv-12257-PBS Document 6791-21 Filed 12/21/09 Page 2 of 5
Case 1:01-cv-12257-PBS Document 6791-21 Filed 12/21/09 Page 3 of 5
Case 1:01-cv-12257-PBS Document 6791-21 Filed 12/21/09 Page 4 of 5
Case 1:01-cv-12257-PBS Document 6791-21 Filed 12/21/09 Page 5 of 5
